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                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                      IN THE UNITED STATED BANKRUPTCY COURT                            September 25, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                                             §
                                                   §        CASE NO: 22-33581
JOYCARE THERAPY, LLC,                              §
                                                   §
           Debtor.                                 §
                                                   §
                                                   §        CHAPTER 11

                                         FINAL DECREE
                                         Resolving ECF No. 168.

        Pending before the Court is Joycare Therapy, LLC (“Debtor”) Motion for Final Decree1,
requesting that the Court close the above referenced case in accordance with 11 U.S.C. § 350(a)
and Fed. R. Bankr. P. 3022 (the “Motion”). The Court finds that the estate of the Debtor has been
fully administered. Considering the Motion, all arguments and/or any objections filed and any
declarations in support of the Motion, this Court hereby finds that Debtor has completed all
payments under its plan of reorganization.2 It is therefore:

          ORDERED that:
      1. the Motion, is hereby GRANTED.
      2. As set forth in 11 U.S.C. §1192, the confirmation of a plan discharges the Debtor.
      3. As a Chapter 11 Subchapter V Case the Reorganized Debtor’s obligation to file Monthly
         Operating Reports is terminated pursuant to Federal Interim Rule of Bankruptcy Procedure
         2015(a)(5)(6) even if this matter is re-opened for any reason.
      4. No later than fourteen (14) days after entry of this Order Debtor shall pay all outstanding
         professional fees due to the Subchapter V Trustee.
      5. Melissa A. Haselden is discharged as Subchapter V Trustee of the estate, the Subchapter
         V Trustee’s bond is cancelled, and the case is closed.
      6. Notwithstanding this Order, the Court retains jurisdiction to consider professional fee
         applications and to enforce payment of fees assessed under 28 U.S.C. § 586(e)(5).


           SIGNED September 25, 2023



                                                           ________________________________
                                                                   Eduardo V. Rodriguez
                                                            Chief United States Bankruptcy Judge


1
    ECF No. 168.
2
    ECF No.
